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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


 In Re: COOK MEDICAL, INC., IVC FILTERS                 Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                         MDL No. 2570
 PRODUCTS LIABILITY LITIGATION


 This Document Relates to All Actions


            FOURTH AMENDED CASE MANAGEMENT ORDER NO. 4
    (PARTY PROFILE, FACT SHEET AND CASE CATEGORIZATION PROTOCOL)

          This Order shall govern (1) all cases transferred to this Court by the Judicial Panel on

 Multidistrict Litigation, including those cases identified in the original Transfer Order and those

 subsequently transferred as tag-along actions; and (2) all cases directly filed in or removed to this

 MDL. It is ORDERED as follows:

     1.        Plaintiff Profile Sheets

          a.       The parties have agreed upon the use of a Plaintiff Profile Sheet (“PPS”) (Exhibit

 1), including eight (8) releases, attached to this Order. The PPS shall be completed in each case

 currently pending, and in all cases that become part of this MDL by virtue of being filed in,

 removed to, or transferred to this Court.

          b.       Each Plaintiff in this MDL as of the date of the entry of the Second Amended

 Case Management Order No. 4 (December 16, 2016), shall submit a completed PPS to

 Defendants within sixty (60) days if the Plaintiff has not already provided a complete Plaintiff

 Profile Form (“PPF”) and Plaintiff Fact Sheet (“PFS”) under Case Management Order No. 4

 [Dkt. 354] or Amended Case Management No. 4 [Dkt. 614]. In cases in which Plaintiffs have not

 served a completed PPF or PFS, each Plaintiff shall submit a completed PPS to Defendants

 within sixty (60) days of the entry (December 16, 2016) of the Second Amended Case


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 Management Order No. 4 and, in future filed cases, within thirty (30) days of the case

 becoming part of this MDL. Every Plaintiff is required to provide Defendants with a PPS that

 is substantially complete in all respects, answering every question in the PPS, even if a Plaintiff

 can answer the question in good faith only by indicating “not applicable.” The PPS shall be

 signed by Plaintiff under penalty of perjury. If a Plaintiff brings suit as representative or

 derivative capacity, the PPS shall be completed by the person with the legal authority to

 represent the estate or person under legal disability. Consortium Plaintiffs shall also sign the

 PPS, attesting that the responses made to the loss of consortium claim questions in the PPS are

 true and correct to the best of his or her knowledge, information and belief, formed after due

 diligence and reasonable inquiry.

         c.        A completed PPS shall be considered interrogatory answers under Fed. R. Civ. P.

 33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

 standards applicable to written discovery under Federal Rules 26 through 37. The interrogatories

 and requests for production in the PPS shall be answered without objection as to the question

 posed in the agreed upon PPS. This section does not prohibit a Plaintiff from withholding or

 redacting information from medical or other records provided with the PPS based upon a

 recognized privilege. If information is withheld or redacted on the basis of privilege, Plaintiff

 shall provide Defendants with a privilege log that complies with CMO No. 10.

         d.        Contemporaneous with the submission of a PPS, each Plaintiff shall provide the

 Defendants with hard copies or electronic files of all medical records in their possession or in the

 possession of their attorneys or other representatives, including, but not limited to, the records

 that support product identification and the alleged injury.




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         e.        Contemporaneous with the submission of a PPS, each Plaintiff shall also produce

 signed authorizations, which allow counsel for Defendants to obtain medical, insurance,

 employment, Medicare/Medicaid, and Social Security records from any healthcare provider,

 hospital, clinic, outpatient treatment center, and/or any other entity, institution, agency or other

 custodian of records identified in the PPS. The signed authorizations shall be undated and the

 recipient line shall be left blank. These blank, signed authorizations constitute permission for

 counsel for the Defendants to obtain the records specified in the authorizations from the records

 custodians. In the event an institution, agency or medical provider to which a signed

 authorization is presented refuses to provide responsive records, Plaintiffs’ counsel shall resolve

 the issue with the institution, agency, or provider, such that the necessary records are promptly

 provided. Counsel for Defendants shall, within twenty (20) days of receipt of any such set of

 records, provide Plaintiff with hard copies or electronic files of all records received and shall

 invoice Plaintiff for the reasonable costs of reproducing hard copies of documents. The invoice

 shall be paid by Plaintiffs within thirty (30) days. If a Plaintiff does not respond to Question

 VIII.9. of the PPS (which would indicate Plaintiff is not pursuing a claim for emotional distress),

 then Defendants shall not order records of psychiatric or psychological treatment, mental health

 counseling, or other such records unless and until a case is moved into the discovery pool.

         f.        Each Plaintiff shall immediately preserve and maintain, without deletions or

 alterations, any content of any personal webpage(s) or social media accounts currently held by

 them, including but not limited to, photographs, text, links, messages and other postings or

 profile information that is relevant to the subject matter of this litigation. “Social media”

 includes, but it not limited to, Facebook, Myspace, LinkedIn, Friendster, and/or blogs. The

 Plaintiffs shall preserve this data by downloading it to a suitable storage device, by printing out



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 copies on paper, or by other means consistent with law and court rules applicable to document

 and data preservation.

          g.       If Defendants receive a PPS in the allotted time but the PPS is not substantially

 complete, Defendants’ counsel shall send deficiency correspondence by e-mail and/or U.S. Mail

 to Plaintiffs’ Lead Counsel and the Plaintiffs’ individual representative counsel, identifying the

 purported deficiencies. Plaintiff shall have twenty (20) days from receipt to serve a PPS that is

 substantially complete in all respects. Defendants’ correspondence shall include sufficient detail

 for the parties to meet and confer regarding the alleged deficiencies. Should a Plaintiff fail to

 cure the deficiencies identified and fail to provide responses that are substantially complete

 within twenty (20) days of service of the deficiency correspondence, Defendants may move for

 appropriate relief under Fed. R. Civ. P. 37. Any such filing shall be served on co-lead counsel for

 the Plaintiffs, with any response to such filing to be submitted within ten (10) business days

 following the date of service. Any such filing should include the efforts the Defendants made to

 meet and confer regarding the alleged deficiencies in the PPS and failure to cure.

          h.       Any Plaintiff who fails to comply with the PPS obligations under this Order may,

 for good cause shown, be subject to sanctions, to be determined by the Court, upon motion of the

 Defendants.

          i.       The PPS shall constitute the initial case-specific discovery response of Plaintiff

 and the Defendants shall not serve on any Plaintiff any further case-specific discovery unless the

 case is chosen as a discovery pool case except by leave of court.

     2.        Case Categorization Forms

          Pursuant to the Court’s Order on the Cook Defendants’ Motion for Screening Order and

 Bellwether Plan (Filing No. 9322) and the Court’s Order Regarding Case Categorization and

 Census (Filing No. 9638) (collectively with this Order, the “Court’s Categorization Orders”) the
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 Court ordered Plaintiffs to categorize their cases in Categories Nos. 1-7 and submit specific

 medical records supporting categorization. Pursuant to the Court’s Revised Second Amended

 Order Regarding Case Categorization Forms (Filing No. 10617): “All Plaintiffs in newly-filed

 actions in this MDL (filed as of May 3, 2019, or later), whether by direct filing of the Complaint

 in this MDL or by transfer into this MDL, must categorize their cases using the form

 provided in Filing No. 9638-1, supported by specific medical documentation, and submit the

 same to the Cook Defendants and Plaintiffs’ Leadership, within 30 days of the filing of the

 Complaint or of the transfer date to this MDL, whichever is applicable.” A copy of the Case

 Categorization Form is attached hereto as Exhibit 2.

     3.      Failure to Serve a PPS or CCF

          If a Plaintiff does not submit a PPS or CCF within the time specified in this Order and the

 Case Management Plan entered by the Court, Defendants may file a Notice of Non-Compliance

 as to the Plaintiff or Plaintiffs that did not comply. Before filing such a Notice, counsel for the

 Defendants shall serve written notice upon Plaintiffs’ Lead Counsel and counsel for the Plaintiff

 at issue that a PPS or CCF has not been served and a Notice of Non-Compliance may be filed. If

 a PPS or CCF is not submitted within five (5) business days of receiving such written notice,

 Defendants may file the Notice of Non-Compliance. To resolve the deficiency after Defendants

 file a Notice of Non-Compliance, Plaintiff must submit the PPS or CCF to Defendants at

 CookFilterMDL@FaegreDrinker.com. Plaintiffs should not file a response to Defendants’ Notice

 of Non-Compliance. If Plaintiff does not resolve the deficiency within fourteen (14) days of the

 date the Notice of Non-Compliance is filed, Defendants may notify the Court and Plaintiffs will

 be dismissed by the Court pursuant to Federal Rule of Civil Procedure 41 for failure to prosecute

 and for failure to comply with this Court’s Order.



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     4.        Defendant Profile Forms

          a.       The Court previously has approved the use of the Defendant Profile Form

 (“DPF”) (Exhibit 3) attached to this Order.

          b.       For each Plaintiff in a currently filed (non-Bellwether) case that is part of the

 MDL as of the December 16, 2016 entry of Second Amended Case Management Order No. 4,

 the Defendants shall comply with the following schedule:

                   1)     The Defendants shall have sixty (60) days from the date of entry of

          Second Amended Case Management Order No. 4 (“date of entry”) to serve a DPF in the

          one hundred (100) oldest non-Bellwether cases pending in the MDL to serve a DPF;

                   2)     One hundred five (105) days from the date of entry to serve a DPF in the

          next one hundred (100) oldest cases;

                   3)     One hundred fifty (150) days from the date of entry to serve a DPF in the

          next one hundred fifty (150) oldest cases;

                   4)     One hundred eighty (180) days from the date of entry to serve a DPF in

          the next one hundred fifty (150) oldest cases;

                   5)     Two hundred ten (210) days from the date of entry to serve a DPF in the

          next one hundred fifty (150) oldest cases;

                   6)     Two hundred forty (240) days from the date of entry to serve a DPF in the

          next one hundred fifty (150) oldest cases;

                   7)     Two hundred seventy (270) days from the date of entry to serve a DPF in

          the next two hundred (200) oldest cases;

                   8)     Three hundred (300) days from the date of entry to serve a DPF in the

          remaining cases pending at the time of entry; and



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                   9)     Once the time for serving DPFs for all cases pending as of the date of

         entry of Second Amended Case Management Order No. 4 has passed, the Defendants

         shall have one hundred twenty (120) days from that point or forty-five (45) days from

         the service of the PPS in each subsequently filed case, whichever is later, to serve

         their DPF.

         c.        Defendants are required to provide Plaintiffs with a DPF that is substantially

 complete in all respects, answering every question in the DPF, even if Defendant can answer the

 question in good faith only by indicating “not applicable”. The DPF shall be signed by

 Defendants under penalty of perjury. The DPF shall constitute the initial case-specific discovery

 response of the Defendants and no Plaintiff shall serve upon any Defendant discovery that is

 case-specific unless the case is chosen as a discovery pool case except by leave of court.

         d.        A completed DPF shall be considered interrogatory answers under Fed. R. Civ. P.

 33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

 standards applicable to written discovery under Federal Rules 26-37. The interrogatories and

 requests for production in the DPF shall be answered without objection as to the question posed

 in the agreed upon DPF. This section does not prohibit a Defendant from withholding or

 redacting information provided with the DPF if based upon a recognized privilege. If information

 is withheld or redacted on the basis of privilege, Defendants shall provide Plaintiff with a

 privilege log that complies with CMO 10.

         e.        If a Defendant fails to timely submit a DPF, or submits within the allotted time a

 DPF that is not substantially complete, the Plaintiffs’ lead counsel shall send a deficiency notice

 by e-mail and/or U.S. Mail to counsel for the Defendants, identifying the purported deficiencies.

 This correspondence shall include sufficient detail for the parties to meet and confer regarding



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 the alleged deficiencies. Defendants shall have thirty (30) days from receipt of that

 correspondence to serve a DPF that is substantially complete in all respects. Should Defendants

 fail to cure the deficiencies identified and fail to provide responses that are substantially

 complete within thirty (30) days of service of the deficiency correspondence, Plaintiff may move

 for appropriate relief under Fed. R. Civ. P. 37. Any such filing shall be served on co-lead counsel

 for the Defendants, with any response to such filing to be submitted within ten (10) business

 days following the date of service. Any such filing should include the efforts the Plaintiff made

 to meet and confer regarding the alleged deficiencies in the DPF and failure to cure.

     5.        Defendant Fact Sheets

          a.       The parties have agreed upon the use of a Defendant Fact Sheet (“DFS”) (Exhibit

 4), attached to this Order. The DFS shall be completed only in matters that are currently set

 as part of a Discovery Pool, selected for Bellwether trial, or as directed by separate Order

 of the Court. Defendants are required to provide Plaintiffs with a DFS that is substantially

 complete in all respects, answering every question in the DFS, even if a Defendant can answer

 the question in good faith only by indicating “not applicable.” The DFS shall be signed by

 Defendants under penalty of perjury.

          c.       A completed DFS shall be considered interrogatory answers under Fed. R. Civ. P.

 33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

 standards applicable to written discovery under Federal Rules 26 through 37. Defendants may

 object to specific requests on proportionality grounds, but these objections must include specific

 information similar to a privilege log.




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     6.        Failure to Serve a DFS

          a.       In Discovery Pool or Bellwether cases set for trials, Plaintiffs may serve a notice

 of deficiency as outlined above and the parties shall meet and confer within five (5) business

 days of service of the deficiency letter. Plaintiffs may move for any appropriate relief under

 Federal Rule of Civil Procedure 37 but not sooner than ten (10) business days after the meet and

 confer. Any such filing shall be served on Co-Lead Counsel for the subject Defendants, with any

 response to such filing to be submitted within seven (7) business days following the date of

 service.

          b.       Any Defendant who fails to comply with the DFS obligations under this Order

 may, for good cause shown, be subject to sanctions, to be determined by the Court, upon motion

 of the Plaintiffs.



 SO ORDERED: ______________


                                                 Tim A. Baker
                                                 United States Magistrate Judge
                                                 Southern District of Indiana




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